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                                                                            9

                                                                           10                                 UNITED STATES DISTRICT COURT

                                                                           11                              NORTHERN DISTRICT OF CALIFORNIA

                                                                           12
                                                                                TULIISA MILLER, ADRIANNA CORTEZ, and             Case No. 3:24-cv-03781-RFL
                                                                           13   BRIAN MAGADAN, individually and on behalf of     Complaint Filed: June 25, 2024
                                                                                all others similarly situated,                   FAC Filed: October 1, 2024
                                                                           14
                                                                                                     Plaintiffs,                 Assigned to District Judge Rita F. Lin
                                                                           15
                                                                                     v.                                          PLAINTIFFS’ OPPOSITION TO
                                                                           16                                                    DEFENDANT’S MOTION TO DISMISS
                                                                                PHILIPS NORTH AMERICA LLC,                       FIRST AMENDED COMPLAINT
                                                                           17
                                                                                                    Defendant.                   Hearing Information:
                                                                           18                                                    Date: January 14, 2025
                                                                                                                                 Time: 1:30 p.m.
                                                                           19                                                    Location: Zoom

                                                                           20

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                                                                                    PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS FIRST AMENDED
                                                                                                                  COMPLAINT
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                                                                            1                          MEMORANDUM OF POINTS AND AUTHORITIES
                                                                            2   I.      INTRODUCTION
                                                                            3           Although we cannot eliminate all risks to infants, caregivers reasonably trust and expect
                                                                            4   manufacturers to disclose known dangers. Defendant, a market leader in baby bottles, abuses this
                                                                            5   trust by actively concealing that its products leach harmful microplastics into baby food and drink
                                                                            6   during ordinary, directed use across multiple daily feedings. Defendant’s response is to dismiss it
                                                                            7   as a ‘so what’ because, it says, microplastics are ubiquitous. But what matters at this stage is that
                                                                            8   parents care, as exemplified by allegations in Plaintiffs’ first amended complaint. In response to this
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                                                                            9   lawsuit, caregivers just like Plaintiffs are reasonably outraged and now making different purchase
                                                                           10   decisions. This is consistent with parents’ top purchasing driver, as also alleged: to reduce the risk
                                                                           11   of harm to children.
                                                                           12           Defendant’s dismissive view also overlooks other key facts, including that babies who drink
                                                                           13   from bottles made of the plastic it uses ingest 2,600 times more microplastics daily from the bottle
                                                                           14   alone than adults do from water, food, and air combined. It is therefore no surprise parents would,
                                                                           15   and do, care about babies ingesting 2,600 times more of these toxic substances daily, even if they
                                                                           16   exist elsewhere. Harm reduction matters, as alleged and reinforced in Plaintiffs’ first amended
                                                                           17   complaint by scientists studying microplastics and child development, who declared we “must exert
                                                                           18   the most significant effort to protect children from MPs [microplastics] exposure.”
                                                                           19           The scientific view that we need to protect children from microplastics also undermines
                                                                           20   Defendant’s other primary view, that the harms are not yet clear enough to care. Regardless, on a
                                                                           21   motion to dismiss, it would be improper to weigh Defendant’s cherry-picked statements from
                                                                           22   scientific studies against the severe harms about which those studies also warn. These include that,
                                                                           23   especially in early child development, microplastics produce a toxic effect on the digestive tract
                                                                           24   causing irreversible changes in the reproductive axis and central nervous system, affect the immune
                                                                           25   system, and may cause pulmonary disease. Moreover, exposure to even low doses of microplastics
                                                                           26   during early development—much less 2,600 times an adult’s exposure to the harmful substance—
                                                                           27   can cause long-term and even lifelong ailments. The harm is clear, and parents care.
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                                                                            1         Defendant also cannot escape the link between these harms and its products by demanding
                                                                            2   product-specific testing. Courts credit studies of harm where, as here, the item tested is meaningfully
                                                                            3   like the product at issue; in this case, baby bottles made of the same plastic Defendant uses, resulting
                                                                            4   in the same complained-of harms. The law on which Defendant relies is unpersuasive: it refers to
                                                                            5   the amount of a dangerous ingredient in a product, something that can vary from brand to brand,
                                                                            6   unlike this situation. The specific amount of microplastics leached also does not require further
                                                                            7   detail at the pleading stage, especially given the everyday and constant use as directed, the detailed
                                                                            8   harm from bioaccumulation, the high amounts leached in baby bottle studies that were sufficient for
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                                                                            9   experts to sound the alarm, and all reasonable inferences from those properly alleged facts.
                                                                           10         Defendant will have its day in court to present a defense based on any competing evidence.
                                                                           11   But right now, Plaintiffs’ concerns are amply supported by facts, scientific studies, and inferences
                                                                           12   properly credited and consistent with consumer protection law, enabling them to operate as private
                                                                           13   attorney generals—caregivers who care to demand better than concealment and obfuscation from a
                                                                           14   manufacturer operating in an industry serving a uniquely vulnerable population and regarding a
                                                                           15   serious risk of harm about which it might not care, but parents do.
                                                                           16   II.   FACTS
                                                                           17         This case centers on Defendant’s failure to disclose that its Philips Avent baby bottles and
                                                                           18   cups (“Products”) release harmful microplastics during normal use, creating a direct ingestion
                                                                           19   pathway for infants during critical developmental stages, beyond general environmental exposure.
                                                                           20   ECF 30 ¶¶ 2-3, 5-6, 18-21, 25, 32-33, 41. Plaintiffs’ first amended complaint (“FAC”) cites studies
                                                                           21   showing microplastics disrupt gut microbiota, impair digestion, and harm immune system
                                                                           22   development, even at low levels, while increasing risks of chronic disease and developmental harm.
                                                                           23   Id. ¶¶ 18-22. Defendant, aware of these risks, (id. ¶ 50), designed the Products for heating and
                                                                           24   serving liquids for infants but concealed the dangers by failing to disclose them while also further
                                                                           25   obfuscating the risk by affirmatively advertising them as “BPA FREE,” even though the material
                                                                           26   omission—leaching microplastics—poses the same health risks as BPA. Id. ¶¶ 28, 36. Parents,
                                                                           27   trusting in the Products’ safety, unknowingly exposed their children to these harmful plastics. Id. ¶¶
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                                                                            1       2, 7. Had Defendant disclosed these risks, Plaintiffs and other consumers would not have paid a
                                                                            2       premium or would have likely avoided the Products entirely. Id. ¶¶ 13-15, 47(b).
                                                                            3       III.   LEGAL STANDARD
                                                                            4              Under Rule 12(b)(6), courts must accept all allegations as true and view them favorably to
                                                                            5       the plaintiff. Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337-38 (9th Cir. 1996). Dismissal is
                                                                            6       warranted only if no plausible claim exists. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl.
                                                                            7       Corp. v. Twombly, 550 U.S. 544, 570 (2007). Fraud claims must specify “the who, what, when,
                                                                            8       where, and how.” Kearns v. Ford Motor Co., 567 F.3d 1120, 1125-26 (9th Cir. 2009). 1 Whether a
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                                                                            9       practice is deceptive is a factual issue inappropriate for dismissal. Williams v. Gerber Prods., 552
                                                                           10       F.3d 934, 938-39 (9th Cir. 2008).
                                                                           11       IV.    ARGUMENT
                                                                           12              A.     Defendant’s Material Omission Impacts the Safety of its Baby Products
                                                                           13              Under California’s UCL, FAL, and CLRA, an omission is actionable if it contradicts a
                                                                           14       defendant’s representation or involves a fact the defendant had a duty to disclose. In re Sony Gaming
                                                                           15       Networks, 996 F. Supp. 2d 942, 991 (S.D. Cal. 2014). A duty to disclose arises when a defect poses
                                                                           16       an unreasonable safety hazard or is material to the product’s function. Hammerling v. Google, 615
                                                                           17       F. Supp. 3d 1069, 1085 (N.D. Cal. 2022); Beyer v. Symantec Corp., 333 F. Supp. 3d 966, 978 (N.D.
                                                                           18       Cal. 2018). Defendant’s failure to disclose microplastic risks constitutes a safety hazard, undermines
                                                                           19       the Products’ function of safely delivering food to children, and contradicts the “BPA FREE” claim.
                                                                           20                     1.      The Products Pose an Unreasonable Safety Hazard
                                                                           21              Defendant misstates the pleading standard by contending that Plaintiffs must provide
                                                                           22       product-specific testing and quantify precise harmful exposure levels. ECF 34 at 7. Plaintiffs must
                                                                           23       simply establish a plausible connection between the defect and the alleged safety hazard—not prove
                                                                           24
                                                                                1
                                                                           25     Defendant references Rule 9(b) in its legal standard but fails to demonstrate how Plaintiffs’
                                                                                allegations fall short. Plaintiffs satisfy Rule 9(b)’s heightened standard, which requires claims to
                                                                           26   provide enough detail for defendants to understand and defend against the allegations. Semegen v.
                                                                                Weidner, 780 F.2d 727, 731 (9th Cir. 1985). Plaintiffs specify their purchased Products, purchase
                                                                           27   locations, timing, and reliance on the misrepresentations. See ECF 30 ¶¶ 3, 5-8, 13-15, 17, 55. They
                                                                                also allege they would not have purchased—or paid less for—the Products had they known the risks.
                                                                           28   Id. Regardless, by failing to present any actual Rule 9(b) argument, Defendant waives any such
                                                                                challenge.

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                                                                            1   exact harm levels through product-specific testing. See Williams v. Yamaha Motor Co., 851 F.3d
                                                                            2   1015, 1028 (9th Cir. 2017) (“Where a plaintiff alleges a sufficiently close nexus between the claimed
                                                                            3   defect and the alleged safety issue, the injury risk need not have come to fruition.”).
                                                                            4          Plaintiffs have established this nexus for pleading purposes. The FAC cites scientific studies
                                                                            5   demonstrating that polypropylene—the material used in Defendant’s Products—leaches
                                                                            6   microplastics when heated during ordinary use, which poses an unreasonable safety hazard to
                                                                            7   infants and children. ECF 30 ¶¶ 18-23; ¶ 25, n.20. Defendant misinterprets Martin v. Doctor’s Best,
                                                                            8   Inc., 2023 WL 6370230 (C.D. Cal. Aug. 25, 2023), as requiring product-specific studies, but Martin
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                                                                            9   supports Plaintiffs by affirming that studies of comparable products can establish plausibility at the
                                                                           10   pleading stage, as Plaintiffs’ studies do. Courts need not weigh competing scientific evidence on a
                                                                           11   motion to dismiss. Chavez v. Blue Sky Nat. Beverage Co., 340 F. App’x 359, 360 (9th Cir. 2009).
                                                                           12   Studies of similar products or ingredients suffice at this stage. Long Nguyen v. Lotus by Johnny
                                                                           13   Dung Inc., 2019 WL 1957962, at *6 (C.D. Cal. Jan. 7, 2019); Rosales v. FitFlop USA, LLC, 882 F.
                                                                           14   Supp. 2d 1168, 1176 (S.D. Cal 2014) (finding studies of comparable products sufficient to state a
                                                                           15   plausible claim).
                                                                           16          Defendant’s claim that Plaintiffs must plead specific harmful thresholds also ignores the
                                                                           17   FAC and scientific consensus. Plaintiffs allege all microplastics are inherently harmful to children,
                                                                           18   disrupting developing systems even at low levels due to bioaccumulation and pronounced here with
                                                                           19   everyday product use as intended. ECF 30 ¶¶ 18-21, 25. For instance, one cited study demonstrates
                                                                           20   that microplastics disrupt gut microbiota, which are essential for digestion and immune system
                                                                           21   function, even at minimal exposure levels (id. ¶ 18 n.5), while another highlights the toxic effects
                                                                           22   of microplastics on the reproductive and nervous systems during prenatal and neonatal development
                                                                           23   (id. ¶ 18 n.6.) The cumulative effect of prolonged exposure during infant development amplifies
                                                                           24   these risks. Id. ¶ 25; In re Lindt Sprüngli (USA), Inc., 2024 WL 4107244, at *8 (E.D.N.Y. Sep. 6,
                                                                           25   2024) (denying dismissal based on allegations of bioaccumulation); Vasic v. Patent Health, LLC,
                                                                           26   2014 WL 940323, at *4 (S.D. Cal. Mar. 10, 2014) (whether studies prove falsity is a fact question
                                                                           27   inappropriate for resolution on a motion to dismiss). Defendant’s reliance on the FDA’s statement
                                                                           28   that “current scientific evidence does not demonstrate that the levels of microplastics . . . in foods

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                                                                            1   pose a risk to human health” (ECF 34 at 9) is improper and unpersuasive. Defendant attempts to
                                                                            2   contradict the FAC’s cited science by referencing a nonbinding FDA conclusion, which is
                                                                            3   impermissible on a Rule 12(b)(6) motion. Lee v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir.
                                                                            4   2001) (review is “limited to the complaint,” and factual disputes are irrelevant under Rule 12(b)(6)).
                                                                            5   The FDA has not issued any rulemaking on this topic, allowing consumers to challenge labeling as
                                                                            6   fraudulent under state law. Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 758 (9th Cir. 2015)
                                                                            7   (state claims not preempted where FDA issued no relevant regulations). Moreover, the FDA
                                                                            8   statement does not address the specific risks of microplastics to babies or their presence in baby
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                                                                            9   bottles, which are the focus of this case. ECF 30 ¶¶ 19-22. The FDA on the cited webpage also noted
                                                                           10   that the presence of microplastics in food could indicate a risk and violate FDA regulations if “it
                                                                           11   creates a health concern.” ECF 35-12. Nothing in the FDA’s statement forecloses the finding of a
                                                                           12   safety hazard as other scientists have concluded with respect to baby bottles. Plaintiffs, through the
                                                                           13   findings of their cited studies, have thus “pleaded enough facts to make the plausible allegation”
                                                                           14   that microplastics pose a significant risk to the health of children. Hendrick v. BSH Home Appliances
                                                                           15   Corp., 2024 WL 2190984, at *9 (C.D. Cal. May 14, 2024) (dismissing defendant’s argument that
                                                                           16   plaintiffs’ studies were “inconclusive as to a causal connection” between the products and harms).
                                                                           17          Defendant relies on inapposite cases dismissing omission claims for failing to allege
                                                                           18   unreasonable safety hazards. Unlike in In re Trader Joe’s Co. Dark Chocolate Litig., 2024 WL
                                                                           19   1319725, at *11 (S.D. Cal. Mar. 27, 2024), where plaintiffs failed to allege even general health risks
                                                                           20   thresholds for heavy metals, the FAC specifically alleges that exposure to even low doses of
                                                                           21   microplastics during early development risks long-term health complications, and that Defendant’s
                                                                           22   heated polypropylene products can in a single feeding release up to 160 times the mean annual
                                                                           23   microplastic intake of an average adult. ECF 30 ¶¶ 18-27, 31. Similarly, In re Plum Baby Food
                                                                           24   Litig., 2024 WL 1354447 (N.D. Cal. Mar. 28, 2024) is distinguishable as those plaintiffs laced
                                                                           25   authority linking heavy metals to safety risks, and the ruling addressed summary judgment.
                                                                           26   Moreover, In re Plum’s earlier ruling supports Plaintiffs’ position by recognizing that safety risk
                                                                           27   determinations raise factual questions inappropriate for resolution on the pleadings. 2022 WL
                                                                           28   16640802, at *2 (N.D. Cal. Jan. 12, 2022); see also Bland v. Sequel Nat. Ltd., 2019 WL 4674337,

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                                                                            1   at *4 (N.D. Cal. Aug. 2, 2019) (health risk allegations from toxic substances raised factual issues
                                                                            2   unsuitable for dismissal).
                                                                            3         Lastly, Defendant’s argument that microplastic risks are minimized by their environmental
                                                                            4   ubiquity is flawed. Plaintiffs allege that harm reduction is a primary purchase driver for parents,
                                                                            5   supported by scientific consensus urging reduced exposure in children. ECF 30 ¶¶ 32, 46. While
                                                                            6   microplastics exist elsewhere, Defendant’s Products uniquely release harmful particles directly into
                                                                            7   food and drink consumed by infants during critical developmental stages. Id. ¶¶ 18-19, 31 (infants
                                                                            8   using feeding bottles like the Products are exposed to 2,600 times the daily microplastic intake of
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                                                                            9   adults). Ubiquity does not absolve manufacturers of disclosing material risks, especially when their
                                                                           10   products directly contribute to harmful exposure. See In re Plum Baby Food Litig., 2022 WL
                                                                           11   16640802, at *2 (rejecting dismissal based on ubiquity of contaminants as a factual issue). Plaintiffs
                                                                           12   plausibly allege that the Products leach microplastics during ordinary use, posing serious risks.
                                                                           13                 2.      The Omission Defeats Products’ Central Function: Safe Infant Feeding
                                                                           14         Under the central function theory, a duty to disclose arises when (1) the defect is central to
                                                                           15   the product’s intended function, and (2) the omission is material. Symantec, 333 F. Supp. 3d at 978-
                                                                           16   79; Burchfield v. Prestige Consumer Healthcare, Inc., 534 F. Supp. 3d 1192, 1202 (C.D. Cal. 2021).
                                                                           17   Additionally, Plaintiffs must show that Defendant had a duty to disclose the risks of its Products
                                                                           18   under any of the four “LiMandri factors”: (1) a fiduciary relationship exists; (2) Defendant had
                                                                           19   exclusive knowledge of material facts unknown to Plaintiffs; (3) Defendant actively concealed a
                                                                           20   material fact; or (4) Defendant made partial representations while suppressing material facts.
                                                                           21   LiMandri v. Judkins, 52 Cal. App. 4th 326, 337 (1997); Smith v. Ford Motor Co., 749 F. Supp. 2d
                                                                           22   980, 987 (N.D. Cal. 2010). While Plaintiffs need only allege a single LiMandri factor, they allege
                                                                           23   three, together with materiality and the requisite central defect.
                                                                           24         The Products’ core function is to safely deliver food and drink to infants. ECF 30 ¶¶ 27, 34.
                                                                           25   Plaintiffs allege the Products fail this purpose because they leach harmful microplastics during
                                                                           26   ordinary use, making them unsafe and unfit for their intended purpose. Id. ¶¶ 18-20. This defect
                                                                           27   undermines the Products’ central function. See Mui Ho v. Toyota Motor Corp., 931 F. Supp. 2d at
                                                                           28   997 (duty to disclose where defective car headlights compromised the product’s core function of

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                                                                            1   safe driving). Defendant’s argument that microplastic leaching “does not affect central
                                                                            2   functionality” (ECF 34 at 16) is flawed and contradicted by Mui Ho, where the court rejected similar
                                                                            3   reasoning. Just as cars with non-working headlights make driving unsafe, feeding bottles and cups
                                                                            4   that pose serious risks to vulnerable infants undermine their core purpose of providing safe feeding.
                                                                            5         Defendant’s reliance on Hayden is also unpersuasive. There, plaintiff failed to allege that
                                                                            6   cadmium rendered the products unhealthy, leaving their central function as food intact. Hayden v.
                                                                            7   Bob’s Red Mill Nat. Foods, Inc., 2024 WL 1643696, at *8, 10 (N.D. Cal. Apr. 16, 2024). Here,
                                                                            8   Plaintiffs allege extensive evidence showing that Defendant’s polypropylene bottles expose children
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                                                                            9   to extreme microplastic risks, effectively rendering them unusable. ECF 30 ¶¶ 28-31. Similarly,
                                                                           10   Defendant’s reliance on Slowinski v. BlueTriton Brands, Inc., 2024 WL 3757097, at *14 (N.D. Ill.
                                                                           11   Aug. 9, 2024), is equally misplaced. Plaintiffs’ allegations here do not concern whether all (or any
                                                                           12   other) microplastic-containing products are unsafe; instead, they allege that Defendant’s Products
                                                                           13   expose babies and toddlers to astronomical microplastic levels during ordinary use, undermining
                                                                           14   their core function and making them unsafe for children specifically. ECF 30 ¶ 34.
                                                                           15          Additionally, Defendant’s counterarguments about the Products being safe for their intended
                                                                           16   purpose despite the alleged microplastic leaching raise factual disputes that are inappropriate for
                                                                           17   resolution at the motion to dismiss stage, and otherwise fail because they disregard Plaintiffs’ well-
                                                                           18   pled allegations that the Products leach harmful microplastics during ordinary use, making them
                                                                           19   unsafe and unfit for safely delivering nourishment to infants. See Sloan v. Gen. Motors LLC, 287 F.
                                                                           20   Supp. 3d 840, 867 (N.D. Cal. 2018) (whether defect renders product unfit for its intended use is a
                                                                           21   question of fact); Bland, 2019 WL 4674337, at *4 (plaintiff alleged high amounts of lead and
                                                                           22   cadmium in products to render them unfit for consumption). The omission is also material.
                                                                           23   Materiality is assessed based on whether a reasonable consumer would consider the omitted
                                                                           24   information important in deciding whether to purchase the product. See Hodsdon v. Mars, Inc., 891
                                                                           25   F.3d 857, 861 (9th Cir. 2018). Crucially, materiality is typically a factual issue that cannot be
                                                                           26   resolved at the pleading stage unless the omitted information is “obviously unimportant.” Symantec,
                                                                           27   333 F. Supp. 3d at 978. Plaintiffs allege that consumers reasonably expect products sold in the
                                                                           28   marketplace to meet minimal safety standards, particularly when those products are intended for

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                                                                            1   infants and children. ECF 30 ¶ 4. This expectation is grounded in the trust that manufacturers will
                                                                            2   disclose potential dangers associated with their products, especially those that are not readily
                                                                            3   apparent. Id. Plaintiffs further allege that parents and caregivers rely heavily on representations that
                                                                            4   feeding products are safe and free from harmful contaminants when making purchasing decisions,
                                                                            5   and that these products will not harm their vulnerable children. Id. ¶¶ 4, 35. Plaintiffs specifically
                                                                            6   allege that they would not have purchased the Products, or would have paid less, had they been
                                                                            7   informed of the risks associated with microplastics leaching during ordinary use. Id. ¶¶ 16, 27. These
                                                                            8   allegations are sufficient to establish materiality at this stage. See ECF 30 ¶ 46; Oddo v. Arocaire
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                                                                            9   Air Conditioning & Heating, 2020 WL 5267917, at *28 (C.D. Cal. May 18, 2020) (“An omission
                                                                           10   is material if a reasonable consumer would attach importance to its existence or nonexistence in
                                                                           11   determining his choice of action in the transaction in question.”); In re Lindt Sprungli (USA), Inc.,
                                                                           12   2024 WL 4107244, at *9 (finding that the lead content of dark chocolate is “important to consumers
                                                                           13   and likely to affect their choice of product, which renders the omission material.”) (cleaned up); In
                                                                           14   re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936, 961 (N.D. Cal. 2014) (same).
                                                                           15         As the manufacturer, Defendant also had a duty to disclose the defect because it possessed
                                                                           16   superior and exclusive knowledge about the polypropylene in its Products and its propensity to leach
                                                                           17   harmful microplastics when heated. ECF 30 ¶¶ 3, 6, 18; Kulp v. Munchkin, Inc., 678 F. Supp. 3d
                                                                           18   1158, 1169 (C.D. Cal. 2023) (“exclusive” does not require absolute secrecy but applies when a
                                                                           19   defendant has “superior” knowledge of a defect that is not readily apparent to consumers).
                                                                           20   Defendant’s reliance on Maketa v. Target Corp., 2024 WL 4311702, at *3 (N.D. Cal. Sept. 26,
                                                                           21   2024), is unpersuasive. There, plaintiff sought to rely on “constructive knowledge,” but Plaintiffs
                                                                           22   here allege that Defendant, as the designer, manufacturer, distributor, and safety tester of the
                                                                           23   Products, had actual knowledge of their defects: that the Products are composed of polypropylene,
                                                                           24   which well-documented research supports is highly prone to leaching staggering amounts of
                                                                           25   harmful microplastics when heated. ECF 30 ¶¶ 28-32.
                                                                           26         Plaintiffs, like other reasonable consumers, were unaware of the defect, lacked the expertise
                                                                           27   to identify it, and would not expect it in Products marketed as safe for children. ECF 30 ¶¶ 16, 25.
                                                                           28   See Paperno v. Whirlpool, Inc., 2024 WL 1091192, at *3 (N.D. Cal. Mar. 13, 2024) (exclusive

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                                                                            1   knowledge exists where defendant knew of a defect that was difficult for consumers to discover)
                                                                            2   (cleaned up) (quoting Rose v. HP Inc., 2020 WL 7714532, at *1 (N.D. Cal. Dec. 29, 2020)).
                                                                            3   Manufacturers must disclose harmful defects affecting a product’s core function. Daniel v. Ford
                                                                            4   Motor Co., 2016 WL 2899026, at *4-6 (E.D. Cal. May 18, 2016); Oddo v. United Techs. Corp.,
                                                                            5   2022 WL 577663, at *13-14 (C.D. Cal. Jan. 3, 2022) (publicly available service bulletins did not
                                                                            6   negate exclusivity when the information was hard for consumers to access). Defendant had superior
                                                                            7   knowledge of the microplastic risks to infants and failed to disclose this critical information. ECF
                                                                            8   30 ¶ 50(c). News articles do not defeat exclusive knowledge claims, as consumers’ knowledge is
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                                                                            9   not “on par” with Defendant’s. Clark v. Incomm. Fin. Servs., Inc., 2023 WL 5167364, at *6 (C.D.
                                                                           10   Cal. July 17, 2023); Anderson v. Apple Inc., 500 F. Supp. 3d 993, 1015 (N.D. Cal. 2020) (online
                                                                           11   availability does not necessarily negate exclusive knowledge).
                                                                           12         Defendant also actively concealed the fact that its Products leach harmful microplastics,
                                                                           13   misleading consumers into believing they were safe for infants and children. ECF 30 ¶ 23. While
                                                                           14   fully aware of the microplastic risks associated with ordinary use, Defendant marketed its Products
                                                                           15   as safe and appropriate for young children. Id. ¶¶ 3, 6, 25. To further reinforce this deception,
                                                                           16   Defendant labeled the Products as “BPA FREE,” creating the false impression that they were free
                                                                           17   from harmful plastic byproducts. Id. ¶ 6. Courts have found active concealment where a defendant
                                                                           18   not only fails to disclose material risks but also promotes its product in a manner that misleads
                                                                           19   consumers. See, e.g., In re Lindt Sprüngli (USA), Inc., 2024 WL 4107244, at *10 (finding active
                                                                           20   concealment where defendant omitted risks while presenting product as safe). Defendant’s conduct
                                                                           21   fits squarely within this pattern. By suppressing critical information about the microplastic risks
                                                                           22   posed by its Products and affirmatively marketing them as safe for infants, Defendant actively
                                                                           23   deceived reasonable consumers and failed to fulfill its duty to disclose material defects. Defendant’s
                                                                           24   reliance on Kumandan v. Google LLC, 2022 WL 103551 at *9 (N.D. Cal. Jan. 11, 2022) for the
                                                                           25   premise that “[m]ere nondisclosure is not enough to show active concealment” (ECF 34 at 16-17)
                                                                           26   is unavailing. There, the Court found that the plaintiffs had not alleged that Google engaged in active
                                                                           27   concealment by, e.g., making “affirmative denials” that it would not at times control consumers’
                                                                           28   home security systems—whereas here, Plaintiffs have alleged that Defendant through its “BPA

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                                                                            1   FREE” label sought affirmatively to conceal the leaching of microplastics, which causes harm
                                                                            2   similar to BPA, and further mislead consumers into the false sense of security driven by its material
                                                                            3   omission. . See ECF 30 ¶¶ 41-42, 44.
                                                                            4         Lastly, the “BPA FREE” claim is a partial representation that independently creates a duty to
                                                                            5   disclose omitted material information because it misleads consumers to believe the Products are
                                                                            6   free from harmful plastics, despite leaching microplastics during ordinary use. See ECF 30 ¶¶ 6, 13-
                                                                            7   16, 23, 36, 41, 44-45; Kulp, 678 F. Supp. 3d at 1169 (plaintiff had not adequately pled “partial
                                                                            8   representation” and did “not allege in the [first amended complaint] that she relied on the warning
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                                                                            9   label in any way”). Plaintiffs relied on the “BPA FREE” label, reasonably believing the Products
                                                                           10   were safe for infants. The label misled Plaintiffs and other consumers to think the Products were
                                                                           11   free from harmful plastic contaminants. ECF 30 ¶¶ 3, 6, 25, 27. Defendant’s reliance on Hayden,
                                                                           12   2024 WL 1643696, at *7, is misplaced. In Hayden, the court found representations such as “Non-
                                                                           13   GMO,” “Gluten-Free,” and “Organic” did not reasonably imply the products were free of specific
                                                                           14   harmful substances such as cadmium and concluded that the statements were insufficient to create
                                                                           15   an expectation about overall healthfulness. Unlike Hayden, where the statements were unrelated to
                                                                           16   the alleged harm, here “BPA-Free” specifically suggests safety from plastic-related risks. Plaintiffs
                                                                           17   reasonably interpreted the claim to mean the Products would not release harmful substances like
                                                                           18   microplastics, the risks of which are similar to those posed by BPA. ECF 30 ¶¶ 3, 6, 25, 27.
                                                                           19   Moreover, Defendant’s Products are marketed and designed for use with infants and toddlers,
                                                                           20   creating a heightened expectation of safety not present in Hayden. Thus, Defendant’s
                                                                           21   representations here are more specific and directly related to the alleged harm.
                                                                           22         Furthermore, the FTC’s Green Guides warn that “free-of” claims can mislead if the product
                                                                           23   contains another harm posing similar risks, as leaching microplastics does here. (16 C.F.R. §
                                                                           24   260.9(c)). ECF 30 ¶ 39. Defendant’s “BPA FREE” label implies safety while concealing
                                                                           25   microplastic leaching, compromising the Products for babies. Id. ¶¶ 13-15, 27. Courts confirm that
                                                                           26   partial representations create a duty to disclose related information to avoid misleading consumers.
                                                                           27   See In re Toyota RAV4 Hybrid Fuel Tank Litig., 534 F. Supp. 3d 1067, 1104 (N.D. Cal. 2021)
                                                                           28   (disclosure of one product fact creates duty to disclose info needed to avoid misleading consumers).

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                                                                            1          Lam v. Gen. Mills, Inc., 859 F. Supp. 2d 1097, 1103–04 (N.D. Cal. 2012), is inapposite. In
                                                                            2   Lam, the plaintiffs argued that a “gluten-free” label misled consumers into believing the product
                                                                            3   was generally healthy, but they failed to allege any connection between the unhealthy ingredients
                                                                            4   and gluten itself. Unlike Lam, where the alleged deception involved an unrelated health implication,
                                                                            5   the misrepresentation here concerns the type of harm the “BPA FREE” claim purports to eliminate.
                                                                            6   See ECF 30 ¶¶ 3, 6, 25. This closer connection makes the misleading nature of Defendant’s
                                                                            7   representation more actionable and distinguishes this case from Lam. The same is true of
                                                                            8   Defendant’s misplaced reliance on Brown v. Madison Reed, Inc., 622 F. Supp. 3d 786, 802 (N.D.
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                                                                            9   Cal. 2022), aff’d, 2023 WL 8613496 (9th Cir. Dec. 13, 2023), where the Court held that that a
                                                                           10   reasonable consumer would not believe a hair color product to be on the whole “healthier, safer, or
                                                                           11   gentler than other hair color products” because it was advertised as “free of ammonia, resorcinol
                                                                           12   [and paraphenylenediamine].” Here, Plaintiffs allege that Defendant’s representation of the
                                                                           13   Products as “BPA FREE” connote the absence of a similar type of risk the Products actually present
                                                                           14   rather than much broader health implications. Also, in Brown, the defendant disclosed the
                                                                           15   replacement of ammonia with other harmful ingredients in the ingredients list. 622 F. Supp. 3d at
                                                                           16   805. Defendant here makes no such disclosure about microplastics. See ECF 30 ¶¶ 3, 6, 25.
                                                                           17   Additionally, the discussion of the reasonable interpretation of challenged representations in both
                                                                           18   Lam and Brown center on the respective plaintiffs’ assertions of affirmative misrepresentations,
                                                                           19   while here Plaintiffs allege that “BPA FREE” serves primarily to further Defendant’s deception
                                                                           20   through material omission. Id. ¶¶ 6, 23, 36, 41-42, 44.
                                                                           21         B.      Plaintiffs’ Equitable Relief Claims Are Appropriate
                                                                           22          Defendant’s argument under Sonner v. Premier Nutrition Corp., 971 F.3d 834 (9th Cir.
                                                                           23   2020), fails for two reasons. Monetary damages cannot address the future harm from Defendant’s
                                                                           24   ongoing deceptive labeling of its Products with the material omission and “BPA FREE” further
                                                                           25   concealing microplastic leaching. ECF 30 ¶¶ 3, 6, 25. Courts recognize that only injunctive relief
                                                                           26   can prevent future harm. See Zeiger v. WellPet LLC, 526 F. Supp. 3d 652, 687 (N.D. Cal. 2021);
                                                                           27   Heredia v. Sunrise Senior Living LLC, 2021 WL 819159, at *8 (C.D. Cal. Feb. 10, 2021). Sonner
                                                                           28   does not bar equitable relief at the pleading stage where Plaintiffs allege the need for both monetary

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                                                                            1   and injunctive remedies. ECF 30 ¶ ¶54; Nacarino v. Chobani, LLC, 2022 WL 344966, at *9 (N.D.
                                                                            2   Cal. Feb. 4, 2022). Courts routinely allow both remedies at this stage, as the adequacy of legal
                                                                            3   remedies cannot usually be determined on the pleadings. See Johnson v. Trumpet Behav. Health,
                                                                            4   LLC, 2022 WL 74163, at *3 (N.D. Cal. Jan. 7, 2022). Plaintiffs’ allegations justify injunctive relief
                                                                            5   to prevent ongoing deception and monetary damages for past harm. Id. ¶¶ 5, 8, 27.
                                                                            6         C.      Plaintiffs Have Standing to Seek Injunctive Relief
                                                                            7         Defendant’s argument that Plaintiffs lack Article III standing to seek injunctive relief ignores
                                                                            8   controlling Ninth Circuit precedent and the well-pled allegations in the FAC. Under Davidson v.
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                                                                            9   Kimberly-Clark Corp., a previously deceived consumer has standing to seek injunctive relief if they
                                                                           10   face an “actual or imminent” threat of future harm. 873 F.3d 1103, 1115 (9th Cir. 2017). This
                                                                           11   includes situations where, as here, consumers cannot rely on product labeling for future purchases.
                                                                           12         Plaintiffs allege that they want to purchase the Products again if safe but cannot rely on the
                                                                           13   accuracy of the labeling due to Defendant’s deceptive practices. ECF 30 ¶¶ 13(g), 14(g), 15(g). The
                                                                           14   continued risk of being misled constitutes a concrete and imminent threat of future harm sufficient
                                                                           15   to support standing for injunctive relief. See, e.g., Gagetta v. Walmart, Inc., 646 F. Supp. 3d 1164,
                                                                           16   1177 (N.D. Cal. 2022) (finding standing where plaintiffs alleged a desire to purchase products in
                                                                           17   the future but could not do so in an informed manner due to the unreliable labels); see also Branca
                                                                           18   v. Bai Brands, Ltd. Liab. Co., 2019 WL 1082562, at *13 (S.D. Cal. Mar. 7, 2019) (same). Defendant
                                                                           19   cites Renn v. Otay Lakes Brewery, LLC, 2024 WL 331616, at *8 (S.D. Cal. Jan. 29, 2024), but there
                                                                           20   the plaintiff failed to allege any intent to repurchase. Plaintiffs here explicitly allege they would buy
                                                                           21   the Products “if the Products were safe” and “if the Products’ labels allowed [them] to make a fully
                                                                           22   informed purchase decision.” ECF 30 ¶¶ 13(g), 14(g), 15(g). This ongoing inability to make
                                                                           23   informed purchasing decisions is the type of concrete and imminent harm that satisfies Article III
                                                                           24   standing requirements.
                                                                           25         D.      Plaintiffs State a Claim under the UCL’s Unlawful and Unfair Prongs
                                                                           26          Contrary to Defendant’s assertions (ECF 34 at 19-20), Plaintiffs adequately allege violations
                                                                           27   of the UCL under both the “unlawful” and “unfair” prongs. Plaintiffs claim Defendant violated the
                                                                           28   “unlawful” prong by breaching the FAL, CLRA, and UCL through material omissions about

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                                                                            1   microplastic risks and misrepresentations that the Products were free from harmful plastics. ECF 30
                                                                            2   ¶¶ 99-107. Defendant’s reliance on Eidmann v. Walgreen Co., 522 F. Supp. 3d 634, 647 (N.D. Cal.
                                                                            3   2021), is misplaced, as Plaintiffs sufficiently allege violations of the FAL and CLRA, including a
                                                                            4   duty to disclose the unreasonable safety hazard posed by microplastic leaching. ECF 30 ¶¶ 3, 6, 25,
                                                                            5   27, 33, 34; see Hammerling, 615 F. Supp. 3d at 1085; Symantec, 333 F. Supp. 3d at 978. Unlike in
                                                                            6   Hayden, 2024 WL 1643696, at *8, where the court found a failure to allege that the cadmium levels
                                                                            7   present were at harmful levels, Plaintiffs cite studies showing Defendant’s Products release
                                                                            8   microplastics at levels harmful to infants and young children. ECF 30 ¶¶ 28-31.
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                                                                            9          Plaintiffs also allege that Defendant violated the CLRA by engaging in “unfair methods of
                                                                           10   competition” and “deceptive practices,” misrepresenting the Products as free of microplastic risks
                                                                           11   to induce purchases. ECF 30 ¶¶ 3, 54(b), 59(b), 76, 92, 102, 116, 118-128. Defendant’s omissions
                                                                           12   and misrepresentations also contradict the Products’ “BPA FREE” label, making them actionable.
                                                                           13   See In re Sony Gaming Networks, 996 F. Supp. 2d at 991; Burchfield, 534 F. Supp. 3d at 1202.
                                                                           14          Additionally, Plaintiffs adequately allege a violation of the UCL’s “fraudulent” prong
                                                                           15   through the alleged misrepresentations and omissions, which Defendant does not refute (ECF 34 at
                                                                           16   13), effectively conceding the issue. ECF 30 ¶¶ 91-98. Under the “unfair” prong, Plaintiffs allege
                                                                           17   Defendant concealed significant health risks from microplastics leaching during ordinary use and
                                                                           18   misled consumers with deceptive front-label claims. Id. ¶¶ 32, 35-36; see Freeman v. Time, Inc., 68
                                                                           19   F.3d 285, 289 (9th Cir. 1995). These allegations establish violations of both the “unlawful” and
                                                                           20   “unfair” prongs of the UCL. ECF 30 ¶¶ 81-90.
                                                                           21         E.      Plaintiffs State a Breach of Warranty Claim
                                                                           22         Plaintiffs have adequately pled breach of implied warranty by establishing the Products are
                                                                           23   unfit for their ordinary use: safely feeding babies. The Products leach microplastics when heated as
                                                                           24   directed, fundamentally compromising their essential function and posing health risks to infants.
                                                                           25   ECF 30 ¶¶ 13-15, 32, 50, 52, 137; Shalikar v. Asahi Beer U.S.A., Inc., 2017 WL 9362139, at *9
                                                                           26   (C.D. Cal. Oct. 16, 2017). Regardless, Defendant’s argument that breach can only be established by
                                                                           27   showing the Products are unfit for their ordinary purpose (ECF 34 at 20) is also incorrect. Plaintiffs
                                                                           28   may also viably plead breach of implied warranty by alleging that the Products fail to conform to

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                                                                            1   promises or affirmations on their label. Morris v. Mott’s LLP, 2019 WL 948750, at *6 (C.D. Cal.
                                                                            2   2019); Kanfer v. Pharmacare United States, Inc., 142 F. Supp. 3d 1091, 1102 (S.D. Cal. 2015)
                                                                            3   (breach occurs when goods do not conform to label promises); Johnson-Jack v. Health-Ade LLC,
                                                                            4   587 F. Supp. 3d 957, 978 (N.D. Cal. 2022). Plaintiffs satisfy this standard by alleging that
                                                                            5   Defendant’s “BPA FREE” labeling misleadingly suggests the Products are free from harmful
                                                                            6   plastics. ECF 30 ¶¶ 134, 142. Plaintiffs have thus adequately pled breach of implied warranty of
                                                                            7   merchantability under both available grounds.
                                                                            8         The same misleading labeling establishes breach of express warranty. A breach is established
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                                                                            9   where “[p]laintiffs adequately allege[] that a reasonable consumer would be misled.” Moore v. EO
                                                                           10   Prods., LLC, 2023 WL 6391480, at *8 (N.D. Cal. 2023); Hesse v. Godiva Chocolatier, Inc., 463 F.
                                                                           11   Supp. 3d 453, 469 (S.D.N.Y. 2020) (reasonable consumer could be misled by “Belgium 1926”
                                                                           12   label). Defendant’s claim that “BPA FREE” is factually accurate misses the point, as Plaintiffs
                                                                           13   allege this “technically true but misleading” claim creates and breaches an express warranty of
                                                                           14   safety by omitting the presence of harmful microplastics. ECF 30 ¶¶ 2, 6, 23, 36, 41-42, 44, 136.
                                                                           15         F.      Plaintiffs State a Claim for Unjust Enrichment
                                                                           16         Defendant’s motion to dismiss Plaintiffs’ unjust enrichment claim fails for three reasons:
                                                                           17   First, Defendant’s argument depends entirely on dismissing Plaintiffs’ statutory claims. ECF 34 at
                                                                           18   20. However, Plaintiffs have sufficiently pled violations of the FAL, CLRA, and UCL. See ECF 30,
                                                                           19   passim; Sanders v. Apple Inc., 672 F. Supp. 2d 978, 989 (N.D. Cal. 2009) (unjust enrichment can
                                                                           20   depend on predicate violations). Second, Defendant’s assertion that monetary damages are
                                                                           21   sufficient (ECF 34 at 20) ignores Plaintiffs’ forward-looking allegations and the need for injunctive
                                                                           22   relief to address ongoing public harm. The FAC details how monetary damages cannot prevent
                                                                           23   future harm or remedy consumers’ lack of awareness about the microplastic risks in the Products.
                                                                           24   ECF 30 ¶¶ 16, 54, 80, 115, 131, 141, 149. Injunctive relief is essential to halt Defendant’s deceptive
                                                                           25   practices and protect unsuspecting parents and children. Id. Monetary damages alone also cannot
                                                                           26   dispel the public misperception caused by Defendant’s years of unfair, fraudulent, and unlawful
                                                                           27   marketing. Id. ¶¶ 54, 131. Plaintiffs also seek the equitable remedy of restitution for unjust
                                                                           28   enrichment which the Ninth Circuit has recognized can be plead in the alternative. Lastly,

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                                                                            1   Defendant’s reliance on Strumlauf v. Starbucks Corp., 192 F. Supp. 3d 1025, 1033 (N.D. Cal. 2016),
                                                                            2   is misplaced, as Plaintiffs here purchased from third-party retailers, not directly from Defendant.
                                                                            3   ECF 30 ¶¶ 13(b), 14(b), 15(b). Under California law, express warranties can exist without vertical
                                                                            4   privity if consumers rely on labels, as here. Clemens v. DaimlerChrysler Corp., 530 F.3d 852, 858
                                                                            5   (9th Cir. 2008) (citing Burr v. Sherwin Williams Co., 268 P.2d 1041, 1048-49 (Cal. 1954)). Plaintiffs
                                                                            6   can pursue both express warranty and unjust enrichment claims concurrently. Sue Shin v. Sanyo
                                                                            7   Foods Corp. of Am., 2024 WL 4467603, at *1, 4, n.3 (C.D. Cal. Aug. 13, 2024).
                                                                            8         G.      Plaintiffs Have Standing to Pursue Unpurchased Products
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                                                                            9         The Court should reject Defendant’s argument that Plaintiffs lack standing to assert claims
                                                                           10   for products they did not personally purchase, as all the Products are substantially similar in design,
                                                                           11   purpose, alleged defect, misrepresentation, material omission, and health risks. ECF 30 ¶ 53; See
                                                                           12   Morgan v. Apple Inc., 2018 WL 2234537, at *9 (N.D. Cal. May 16, 2018) (under California law,
                                                                           13   plaintiffs may assert claims for unpurchased products that are “substantially similar” to the ones
                                                                           14   purchased); Morales v. Unilever U.S., Inc., 2014 WL 1389613, at *4 (E.D. Cal. Apr. 9, 2014)
                                                                           15   (products are “substantially similar” if same type, similar composition, and have same mislabeling).
                                                                           16         Defendant’s reliance on Holt v. Foodstate, Inc., 2016 WL 4625550, at *2 (S.D. Cal. Sept. 6,
                                                                           17   2016), is misplaced, as Plaintiffs allege the Products serve the same function, share a “meaningful
                                                                           18   commonality as to ingredients [and] packaging,” and are uniformly mislabeled as “BPA FREE.”
                                                                           19   ECF 30 ¶¶ 8, 24. Shank v. Presidio Brands, Inc., 2018 WL 510169, at *7 (N.D. Cal. Jan. 23, 2018)
                                                                           20   (similar mislabeling supports substantial similarity). All Products are also exposed to heat during
                                                                           21   use or cleaning, leach microplastics in all cases, and Plaintiffs seek identical remedies. ECF 30 ¶¶
                                                                           22   28-30, 32, 53, 79-80, 89-90, 97-98, 106-107, 115, 130-132, 141-142, 149-150; Ang v. Bimbo
                                                                           23   Bakeries USA, Inc., 2014 WL 1024182, at *8 (N.D. Cal. Mar. 13, 2014) (standing when claims for
                                                                           24   purchased and unpurchased products are resolved identically).
                                                                           25   V.    CONCLUSION
                                                                           26         Plaintiffs respectfully request that the Court deny Defendant’s motion or grant leave to amend
                                                                           27   any pleading defects. Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir.
                                                                           28   1990) (Ninth Circuit applies a policy of “extreme liberality” in granting leave to amend).

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                                                                                Date: November 26, 2024                 CLARKSON LAW FIRM, P.C.
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